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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:05CR3019
                                    )
           v.                       )
                                    )
TERESA MARIE JONES,                 )           MEMORANDUM AND ORDER
                                    )
                Defendants.         )
                                    )


     The defendant Teresa Marie Jones has filed a motion to
sever, filing 33.    She claims severance is necessary to secure
exculpatory testimony from the co-defendants, to avoid being
found guilty based on the evidence attributable to the other
defendants, and because the “finger-pointing” that may occur
between the defendants creates a situation of irreconcilable
defenses among the defendants.       I shall deny the motion to sever.


     Joinder of counts in an indictment is governed by Rule 8 of
the Federal Rules of Criminal Procedure which provides:

     (a) Joinder of Offenses. The indictment or information
     may charge a defendant in separate counts with 2 or
     more offenses if the offenses charged--whether felonies
     or misdemeanors or both--are of the same or similar
     character, or are based on the same act or transaction,
     or are connected with or constitute parts of a common
     scheme or plan.

     (b) Joinder of Defendants. The indictment or
     information may charge 2 or more defendants if they are
     alleged to have participated in the same act or
     transaction, or in the same series of acts or
     transactions, constituting an offense or offenses. The
     defendants may be charged in one or more counts
     together or separately. All defendants need not be
     charged in each count.

Fed.R.Crim.P. 8.
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     However, even when joinder is proper under Rule 8, pursuant
to Rule 14 of the Federal Rules of Criminal Procedure a judge may
order severance if joinder at trial will prejudice the defendant.
United States v. Wadena, 152 F.3d 831, 849 (8th Cir. 1998).                Rule
14 provides:


     If it appears that a defendant or the government is
     prejudiced by a joinder of offenses or of defendants in
     an indictment or information or by such joinder for
     trial together, the court may order an election or
     separate trials of counts, grant a severance of
     defendants or provide whatever other relief justice
     requires. In ruling on a motion by a defendant for
     severance the court may order the attorney for the
     government to deliver to the court for inspection in
     camera any statements or confessions made by the
     defendants which the government intends to introduce in
     evidence at the trial.

Fed.R.Crim.P. 14.


     The indictment in this case alleges that all the defendants,
were involved and participated in the same illegal drug activity.
“Generally, persons charged in a conspiracy should be tried
together, especially when proof of the charges against the
defendants is based upon the same evidence and acts.”               United
States v. Brown, 331 F.3d 591, 595 (8th Cir. 2003).


     [D]efendants who are jointly indicted on similar
     evidence from the same or related events should
     normally be tried together. . . .[T]o warrant severance
     a defendant must show “real prejudice,” that is,
     “something more than the mere fact that he would have
     had a better chance for acquittal had he been tried
     separately.”

United States v. Mickelson, 378 F.3d 810, 817 (8th Cir.
2004)(quoting United States v. Oakie, 12 F.3d 1436, 1441 (8th



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Cir. 1993)(citing United States v. Adkins, 842 F.2d 210, 211-12
(8th Cir.1988)).


     A defendant can prove real prejudice to her right to a fair
trial by showing that either her defense is irreconcilable with
that of the co-defendants, or that the jury will be unable to
compartmentalize the evidence as it relates to the separate
defendants.    Mickelson, 378 F.3d at 817 (citing United States v.
Washington, 318 F.3d 845, 858 (8th Cir. 2003); United States v.
Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995).           However,
“[s]everance is not required merely because evidence that is
admissible only against some defendants may be damaging to
others.”   Mickelson, 378 F.3d at 817.         A motion for severance may
be denied even though the defendant argues that “not every joined
defendant has participated in every offense charged,” or that
“there is varying strength in the evidence against each
defendant.”    United States v. Lee, 374 F.3d 637, 646 (8th Cir.
2004)(internal citations omitted).         When such concerns are
raised, “[t]he risk of prejudice posed by joint trials is best
cured by careful and thorough jury instructions.”              Mickelson, 378
F.3d at 817.


     I cannot conclude that trying all the defendants in a single
trial will prejudice defendant Jones.


     IT THEREFORE HEREBY IS ORDERED:         Defendant Jones’ Motion to
Sever, filing 33, is denied.

     DATED this 9th day of June, 2005.

                                    BY THE COURT:
                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge


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